Case 9:08-cv-80119-KAM Document 27 Entered on FLSD Docket 07/25/2008 Page 1 of 3



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                     CASE NO.: 08-80119-CIV-MARRA/JOHNSON


  JANE DOE NO. 2,

        Plaintiff,

  vs.

  JEFFREY EPSTEIN,

       Defendant.
  ________________________________/


              DEFENDANT’S REQUEST FOR ORAL ARGUMENT

        Pursuant to Rule 7.1(B)(1) of the Local Rules of the United States District

  Court for the Southern District of Florida, defendant Jeffrey Epstein respectfully

  requests oral argument in connection with his motion to stay.

        Defendant believes an opportunity to formally argue the motion would assist

  the Court in ruling on his motion, which seeks to stay this action until resolution of

  a pending criminal action.

        Defendant estimates that the time required for argument is one hour.




                           3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 9:08-cv-80119-KAM Document 27 Entered on FLSD Docket 07/25/2008 Page 2 of 3
                                        CASE NO.: 08-80119-CIV-MARRA/JOHNSON

                                    Respectfully submitted,

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                                                    2


                        3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 9:08-cv-80119-KAM Document 27 Entered on FLSD Docket 07/25/2008 Page 3 of 3
                                         CASE NO.: 08-80119-CIV-MARRA/JOHNSON

                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 25, 2008, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on counsel of record identified

  below by U.S. Mail.

                                     /s/ Michael R. Tein
                                       Michael R. Tein

                                           Service List

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